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                              UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF MISSISSIPPI
                                    JACKSON DIVISION

UNITED STATES OF AMERICA

V.                                                       CRIMINAL NO. 3:08cr164 DPJ-JCS

ALLAN K. HEARNE


                                              ORDER


          This criminal matter is before the Court on Allan K. Hearne’s motion for a new trial [52].

Defendant filed no memorandum and no reply to the Government’s response. The Court, having

fully considered the parties’ submissions and the applicable law, finds that the motion should be

denied.

I.        Facts and Procedural History

          A jury found Dr. Hearne guilty on all seven counts of an indictment that generally alleged

health care fraud and related federal offenses. Among the Government witnesses was Howard

McClendon, the United States Attorney’s Office Health Care Fraud Investigator. After the trial,

the Government, acting on its own initiative, disclosed that McClendon testified on three

occasions before the grand jury but that the final transcript had not been produced. The excluded

testimony was given in support of a superseding indictment that added two additional charges of

health care fraud and an additional count of making a false statement to the Social Security

Administration. According to the Government, it inadvertently failed to request a transcript of

McClendon’s final testimony and did not therefore possess a copy until the trial concluded.

Defendant’s motion seeks “a new trial based upon the failure to produce the February 17, 2009

Grand Jury testimony of investigator Howard McClendon.” Defendant’s Motion [52].
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II.    Analysis

       Rule 33 of the Federal Rules of Criminal Procedure governs motions for a new trial and

allows the court to “vacate any judgment and grant a new trial if the interest of justice so

requires.” “A new trial is granted ‘only upon demonstration of adverse effects on substantial

rights of a defendant.’” United States v. Rasco, 123 F.3d 222, 228 (5th Cir. 1997) (quoting

United States v. Cooks, 52 F.3d 101, 103 (5th Cir. 1995)). A violation of Title 18, United States

Code, Section 3500 (Jencks Act), can constitute ground for a new trial.

       Failure to disclose grand jury testimony violates the Jencks Act. United States v.

Montgomery, 210 F.3d 446, 451 (5th Cir. 2000). Moreover, there is no good faith exception to

the requirements of the Jencks Act. Id. However, violations are considered under harmless error

analysis. Id. (citing United States v. Martinez, 151 F.3d 384, 391 (5th Cir. 1998)). In conducting

this analysis, the Court must determine “whether the error itself had a substantial influence on the

judgment in addition to determining whether there was sufficient evidence to support the

conviction.” Id. Finally, the error will be harmless unless the suppressed statement substantially

deviates from the witness’s trial testimony. Id.

       Here, the Government presented strong evidence upon which the jury could support guilty

verdicts on all seven counts. Having reviewed McClendon’s testimony at trial and before the

grand jury, the Court finds that possession of the grand jury transcript would not have

substantially influenced the judgment, and that McClendon testified consistently before the grand

jury and at trial–Defendant has not suggested otherwise. Failure to produce the transcript

therefore constitutes “harmless error.” Id.




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 IT IS, THEREFORE, ORDERED that Defendant’s motion for new trial is denied.

 SO ORDERED AND ADJUDGED this the 24th day of July, 2009.

                                  s/ Daniel P. Jordan III
                                  UNITED STATES DISTRICT JUDGE




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